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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION

AMERICAN HEALTH CARE
ASSOCIATION, et al.,                                       §
                                                           §
         Plaintiffs,                                       §
                                                           §
v.                                                         §     2:24-CV-114-Z-BR
                                                           §
XAVIER BECERRA, et al.,                                    §
                                                           §
         Defendants.                                       §

                                            SCHEDULING ORDER

         The presiding United States District Judge has referred this case to the undersigned United

States Magistrate Judge for pretrial management. The District Judge will set the pretrial and trial

schedule by separate order.

         Pursuant to Rules 16(b) and 26(f) of the Federal Rules of Civil Procedure, the Civil Justice

Expense and Delay Reduction Plan for the United States District Court, Northern District of Texas

(Misc. Order No. 46), and the current Local Civil Rules of the United States District Court for the

Northern District of Texas, and also after having considered the parties’ Joint Motion for Briefing

Schedule.1

                                         I. MODIFICATION OF DEADLINES

         The deadlines set forth below in this Scheduling Order can only be modified: (1) “for good

cause” and (2) with the judge’s consent. Shepherd on behalf of Estate of Shepherd v. City of

Shreveport, 920 F.3d 278, 287 (5th Cir. 2019) (quoting Fed. R. Civ. P. 16(b)(4)). Rule 16’s “good




         1 If a date specified in this Order falls on a Saturday, Sunday, legal holiday, or date on which the United

States District Clerk’s office is closed or is otherwise inaccessible, the deadline is the next day that is not one of the
aforementioned days. See Fed. R. Civ. P. 6(a)(3).
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cause” analysis is thorough and considers four factors.2 Conclusory statements that good cause

exists, or that the extension is not sought for the purpose of delay, are insufficient. Requests and

motions to extend or modify deadlines in the Scheduling Order shall directly and specifically

address why good cause exists under Rule 16 using each of the four factors:

        (1) the explanation for the party’s failure to meet the deadline;
        (2) the importance of the amendment to the scheduling order;
        (3) potential prejudice if the court allows the amendment; and
        (4) the availability of a continuance to remedy such prejudice.

Rule 16 does not allow a scheduling order to be modified by agreement of the parties, and the

requirements in this section apply whether a request or motion for extension or modification is

agreed or opposed.

                                        II. PRETRIAL SCHEDULE

        The parties must comply with each of the following deadlines unless a deadline is modified

by the Court upon a showing of good cause as required by Federal Rule of Civil Procedure 16(b).


A.      Administrative Record and Challenges

           i.    The administrative record must be filed on or before September 13, 2024.


          ii.    Plaintiffs shall file any objections to or motions to supplement the administrative
                 record on or before September 27, 2024.

         iii.    If Plaintiffs elect to challenge the adequacy of the administrative record and the
                 parties wish to defer summary judgment briefing, any motion to amend this
                 Scheduling Order in that regard must be filed on or before October 3, 2024.

B.      Motions for Summary Judgment

           i.    Plaintiffs shall file their motion for summary judgment, not to exceed 50 pages, on
                 or before October 18, 2024.



        2 The Court considers four factors, which are listed in Section I. of this Order, when determining whether

good cause exists to modify a scheduling order. See S&W Enters., L.L.C. v. SouthTrust Bank of Alabama, NA, 315
F.3d 533, 536 (5th Cir. 2003); Reliance Ins. Co. v. Louisiana Land & Expl. Co., 110 F.3d 253, 257 (5th Cir. 1997).

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          ii.   Defendants shall file a combined summary judgment response and cross-motion for
                summary judgment, not to exceed 50 pages, on or before November 15, 2024.

         iii.   Plaintiffs shall file a combined summary judgment reply and response to the cross-
                motion for summary judgment, not to exceed 50 pages, on or before December 13,
                2024.

         iv.    Defendants shall file their reply in support of the cross-motion for summary
                judgment, not to exceed 35 pages, on or before January 17, 2024.


                      IV. RULE 26(a) DISCLOSURES AND DISCOVERY
                             MATERIALS NOT TO BE FILED

       Counsel are reminded that, pursuant to Federal Rule of Civil Procedure 5(d)(1), disclosures

under Federal Rule of Civil Procedure 26(a)(1) or (2), and the following discovery requests and

responses—depositions, interrogatories, requests for documents or tangible things or to permit

entry onto land, and requests for admission—must not be filed until they are used in the proceeding

or the Court orders filing.


                              V. MOTIONS AND PROPOSED ORDERS

       When a party files a motion that requests “emergency,” “expedited,” or similar relief or

provides for agreed relief concerning a fast-approaching deadline, the party should assume the

Court is unaware of the filing. When such relief is sought, counsel should contact chambers at

(806) 468-3832 and arrange to have a judge’s copy promptly delivered to the United States District

Clerk’s office, if directed to do so by chambers.

       Paper copies are required for dispositive motions referred to the undersigned, Daubert

motions, motions to compel or for protective order, and any other motion over 10 pages, as well

as responses, replies, and any corresponding briefs and appendices. Paper copies must comply with

Local Rule 10.1 except as specified in this section. On or before the third business day after the

date any movant’s reply is due, any represented movant must provide: (1) a three-ring binder

containing the motion, any responses, any replies, and any corresponding briefs; and (2) a separate


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three-ring binder containing any corresponding appendices. The front of each binder should

contain an 8 ½” x 11” cover page that includes the (1) case style; (2) case number; (3) names of

all parties; and (4) names of all attorneys of record in the case. The spine of each binder should

contain the case style and case number. Motions, briefs, responses, and replies should be printed

single-sided. Appendices should be printed double-sided. The parties must only include the file-

marked copies of each PDF document after they have been filed with the Clerk of the Court or the

electronic filing system. Each binder should be appropriately tabbed and indexed. Requirements

for dispositive motions can also be found at http://www.txnd.uscourts.gov/judge/magistrate-judge-

lee-ann-reno.

       If a party submits any proposed order to the Court, including an agreed protective order,

the party shall email the proposed order in Word format to reno_orders@txnd.uscourts.gov with

the case number and document number of the accompanying motion in the subject line. The parties

are not to use this email address for any other purpose.

       IT IS SO ORDERED.

       ENTERED August 13, 2024.




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